         Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 1 of 9

                                                                                   U. S. DISTRICT COURT
                                                                                   DISTRICT OF VE~ONT


August 5, 2015

National Dairy Farm Milk Marketing Scandal
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                                                                                      01!:1"
                                                                                               ~G1W­
                                                                                                CLERK




We currently in this nation have only .8% of the number oflicensed dairy producers of 1940.
Fast forward to 1980 with 350,000 producers in business- today only 43,000 remain in
production. Good managers made it through the '70s and '80s with 80% parity pricing. In 1980,
we went to the roller coaster market oriented pricing system thus only 43,000 producers remain
in this nation today. AND STILL FALLING!


Our government calculates the current average cost of production at $27.66 in the-!Jdairy
producing states. They are currently administering a pay price ofless than $17 .00/cwt. Is this a
contradiction or an outright sham?
Are we going to continue down this slippery slope until there are only a few of the many people
who really want to farm left in production? We need to get realistic about this issue and soon.
Farmers cannot continue in production at a $10 per hundred weight loss in income. Thus the
dwindling number of dairy producers who have had their heritage and livelihood destroyed by
unrealistic government price support programs. This seems to me to be unAmerican!


Another government publication calculates cost of producing milk by herd size:
50 cows or less $50.84/hundred pounds of milk
50 to 100 cow$40.31/ hundred pounds of milk
100 to 200 cows $32.95/ hundred pounds of milk
200 to 499 cows $30.11/hundred pounds of milk
500 to 999 cows $24.87 /hundred pounds of milk
1000 cows or more $20.27/hundred pounds of milk
Are we going to continue this farce until there are only a handful of producers left in business in
the nation????
The US Congress has had two opportunities to rectify this disgrace but the dairy manufacturers
(not the producer group) have bought and paid for too many members of our so called
representative government. When we talk about discrimination, let us look at what we have
done with the current pricing system for dairy producers.
We had an opportunity with the Casey/Spector Bill in 2007. Surplus production would have
been manufactured into dairy products and given to the food banks at the expense of the
         Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 2 of 9



producers causing the excess production. Base-Excess formula (not a quota) for establishing a
fair and equitable price for all producers.

The American consumer would like to support a system that would maintain the remainder of the
family farm community and the tradition of family farms where the children learn to work and
do their chores take good care of their animals and show them at fairs and other livestock shows
with pride.
Another way to address the over-supply would be to eliminate BST and return milk supply to its
natural state, a wholesome and nutritious product. Whole milk should be returned to the school
lunch and breakfast programs.
Whole milk is not the cause of overweight and obesity. The iPod and computer where only
fingers get the exercise is a major component of the overweight problem. You don't see many
(any) overweight youngsters on the soccer team. Butterfat is a major component in in brain
development in growing children and should be in their diet. This has been confirmed by many
members ofthe medical community and nutritional experts in our healthy growth scenario.


Overweight and obesity is cause by the 20 tsp of sugar in a 20 ounce soda and lack of exercise.
Bovine animals were never meant to be supercharged with BST. Milk in its natural state is one
of the most nutritious foods available to consumers in this once great nation. Let's stop the
destruction ofwhat's left ofthe family farm community and pay producers what it cost to make
the wholesome and nutritious product.
This could be accomplished with are-blend and pay the smaller producers what it cost to
produce the product. We had are-blend at the expense of all current producers (54cents per
hundred weight) to pay for all the milk that was dumped due to over production over and above
market needs. Dairy Coops could make this work and they need to work to control over supply
on behalf of their farmer (owners) members. The current situation in the dairy farm community
is an outrage dairy producers need to become more active in the day to day decisions concerning
their fate.

Since the Government (USDA) is involved in this crisis some sensible leadership would be
welcomed to really address the problems facing all dairy producers. The current so-called safety
net for dairy producers pay is an absolute hoax. MPP (Margin Protection Program) has not
saved any farms or producers. If we use the ERS's calculated cost of production to establish the
margin, producers would now receive about a $1 0/hundred weight of milk check to bring them
up to break-even.
Government and the dairy-co-op community have outright failed to protect dairy farmers, some
of the hardest working people in America.

At the time of consolidation with MID AM, DFA represented 26,000 diary producers. Today that
number is down to 13,000 and still falling. What does that say for DFA's management
capability on behalf of their Farmer /Owner members?
           Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 3 of 9



When I came to Chenango County in November 1976 and bought a dairy farm milking 33 cows
to enjoy the good life after working in the real world for 27 years, we had 733 farms shipping
milk to market. After the 2009 crash, Chenango stabilized at 160 producers through 2013. In
2015 with the falling milk price, we have lost another 20 producers and more are at risk of
failure due to the current farm gate milk price. The current so-called safety net is an absolute
failure perpetuated upon the milk producer community by the U. S. Congress and USDA.



Over the years I added on o the barn and grew to milking up to 70 cows. This was done with
off-farm income and loans which were all paid in full. Feed cost was not the only out of control
expense, due to Ethanol driving up the price of corn, but energy prices and anything made of
steel, taxes, insurance, and the daily cost of living went out of control. In 1997, we had a modern
milking facility, TMR, and good herd health and quality milk production. We modernized the
house with a good portion of my wife's inheritance in 1992.


May God Bless America,
And with grave concern!



Ken Dibbell     7f e41
Mr. Milk
Norwich, NY
           Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 4 of 9



US District Court of Vermont

Re: Allen vs. Dairy Farmers of America, Inc. No 5:09-CV-230-CR



                                                                     9 Guernsey Street

                                                                     Norwich, New York 13815

                                                                     (607)226-0731

                                                                     March 7, 2016

                               DECLARATION OF KENNETH DIBBELL



Kenneth Dibbell, pursuant to 28 U.S.C. 1746, states as follows

   1.    I was planning to attend a South New Berlin Coop Director's meeting on or about
        February 5, 2016, to discuss the current settlement. I was told that this meeting was
        cancelled and moved to on or about February 6. 2016.

   2. Mr. King, General Manager of the South New Berlin Coop called me on or about Friday
      night, February 5, 2016, to let me know this meeting was also cancelled. Mr. King
      proceeded to threaten me that the South New Berlin Coop, of which I was a Director for
      at least 25 years, would personally sue me for jeopardizing their milk market, if I
      encouraged farmer members to oppose this settlement through my petition, because
      OMS markets 100% of South New Berlin Coop milk.

        I declare under the penalty of perjury that the foregoing is true and correct.

               Dated at Norwich, New York this 7th day of March, 2016.




                                                     Kenneth Dibbell
             Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 5 of 9



US District Court of Vermont

Re: Allen vs. Dairy Farmers of America, Inc. No 5:09-CV-230-CR

                                                                      9 Guernsey Street

                                                                      Norwich, New York 13815

                                                                      (607)226-0731

                                                                      March 7, 2016



                                      LETTER IN OPPOSITION

I object to this settlement being totally insufficient for the following reasons:

   1. In the SouthEast case DFA settled for approximately $150 million dollars, distributed
      among roughly 6,000, compared to this NorthEast case where DFA wants to settle for $50
      million dollars among roughly 9,000 farmers.
   2. We have learned from the SouthEast case that the settlement provisions failed to provide
      relief for the SouthEast dairy farmers. These settlement provisions are equally inept at
      providing any meaningful long lasting relief.
   3. The current milk marketing system of pricing works against dairy farmers and is endorsed
      by the Defendants. This coupled with the Defendants monopoly coercion is not addressed
      adequately in this settlement.



I plan to attend and speak at the May 13, 2016, Fairness Hearing.

Sincerely,

Ken Dibbell
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           Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 6 of 9




3-8-2016



Mr. Thomas Vilsack
Secretary of Agriculture
United States of America


It is with a heavy heart that I feel compelled to point out to you that you as the head of agriculture in
this once great nation have the responsibility to take the lead in addressing the outrageous situation
that prevails on our few remaining dairy farms concerning the farm gate pricing of milk.

You have a division , ERS, with a staff of presumably well paid individuals and educated in crunching
numbers of cost of production for all 23 dairy producing states, yet another division AMS continues to
administer a pay price that is less than half of the price calculated by ERS. This is obviously a severe
contradiction. The system has idled though economic strangulation 99.8 percent of the 4.6 million of
licensed and inspected dairy producers for the year 1940 ad. There are fewer than 43,000 left in
operation in this once great nation . And falling every day.

According to ERS the cost of production does not reduce to $25 until herd size reaches 500 head at
1,000 head the cost reduces to $20/cwt. Difficult to stay in business with a $15 pay price.



My concern is the elimination of the family farm with less than 200 cows. We are going to destroy the
livestock show at the county fairs all across this nation, a part of the heritage being destroyed by the
current farm gate pricing system.



There is no money to pay for upgrade of facilities and equipment on the few remaining family farms that
are hanging by a thread and are failing day by day as we speak. Check the auction ads every week in the
local papers! Family farmers work 14 hours a day 6 days a week but only 10 hours on Sunday, maybe.



Many current farms are surviving with off farm income-school bus driving is a favorite income
supplement. Farm children are the only kids in our society that learn to work at an early age.

They get up early and do their chores get cleaned up and get on the bus to school. You cannot even get
a town kid to shovel snow.

The new current USDA dietary guidelines show little improvement from the previous guidelines. It is
time to get butter fat back into our schools, whole milk would be desired. Butter fat is involved in brain
development in growing children. A well-known fact in the real world.



Too many of our elected representative officials have failed to do their job. They have failed with few
exceptions to represent the "people". They seem to be good at listening to all the lobbyists with all the
       "                    Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 7 of 9
.../       ., Kenneth Dibbell, South New Berlin, New York 13843                             2012
            March 9, 2012




             United Sates Congress

             Washington, DC




             Dear Members of House Agriculture Committee:




                                     ARE YOU LISTENING??
           Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 8 of 9
                                           -OA1RY HISTORY

In 1940, this nation had 4.66 million inspected and licensed dairy producers. The herd sizes were, 99.1%
with less than 30 cows, .7% had 30 to 49 cows, .2% had 50 to 99 cows.
My grandfather in Stowe Vermont was one of those producers milking 12 cows by lantern light. All
during World War ll he separated each milking and ifl was present I turned the crank on the separator.
Pigs got the skim, cream was held till Saturday.
Gramp spent the day the whole day Saturday in the basement of the house (which had electricity)
churning probably the best butter you ever ate. It had a little salt in it. A one pound square butter mold
filled and with the top pressed on the butter, had a cow head print in one corner and a four leaf clover in
one comer, and I can't remember the other two comers!
Monday morning Gramp loaded his 1937 Chevy pick-up with butter, brown eggs, maple syrup in 1 gallon
tins (at $6 per gallon not $60) and 5 pound cans of maple sugar. Then he drove 11 miles to Morrisville,
VT and visited his regular customers. He arrived back at the farm at 4pm with almost everything gone.
Tuesday was Stowe delivery day and at 2pm he would enter the barber shop for his weekly shave (with a
straight razor of course) and catch up on the local news.
Fast forward to 1980:
We still had 350,000 dairy producers in 1980 in this nation at 80%parity pricing and today we have
45,000 and falling. Due to the failure of the so-called safety nets administered by our government, price
support and buy-out, and MILC none of which prevented farm losses due to due to economic
strangulation. We have not only destroyed the heritage and the livelihood of hundreds of thousands of
farmers, but also the owners and employees of the thousands of small businesses supported by the small
farm community.
Today we are down to 45,000 dairy producers and still falling. The new so-called safety net Margin
Protection Program (MPP) has yet to be activated and appears to be another questionable solution to dairy
producer losses. Failure to pay producers anything resembling cost of production as calculated by
Economic Research Service (ERS) a division of USDA is a Problem!
Cost of production by herd sizes as calculated byERS in 2013: 1 to 49 cows $50.84/cwt, SO to 99 cows
$40.31/cwt, 100 to 199 cows $32.95/cwt, 200 to 499 cows $30.11/cwt, 500 to 999 cows $24.87,1000
cows $20.27.
ERS average calculated cost of milk production in all23 milk producing states is $27.36/cwt.
The ag marketing law states that the SecretarY of the USDA upon petition will hold a price hearing to
establish a fair and stable price for all farms, but he refused.
 There is no reason not to pay $40/cwt on the first million lbs and $30/cwt on the 2nd million to maintain
 what is left of the small farm community in rural America. These farmers work 14 hours a day and 7
 days a week and should be rewarded for their efforts with a blended pay price on the first two million
 pounds that meets the cost of production as determined by the ERS. This proposal need not raise milk
 prices in the store.                                                        -·---·- ·· ·- --- - -- ··- - - ·


         With Grave Concern,
                                                                                   MR. MILK
         Mr. Milk- Ken Dibbell                                                          Ken Dibbell
                                                                                    9 Guernsey Street
                                                                                    Norwich, NY 13815
                                                                        P: (607) 226-0731          F: (607) 336-6961
                        Case 5:09-cv-00230-cr Document 722 Filed 03/11/16 Page 9 of 9



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      TIIB NBW YORK TJMES                  EDITORIAL'5/LE1TERS                      WBDNESDAY, APRIL 3, 1991



                                                                                                                             ;a
                                                               See Lower Milk Prices?                                         ·~




To the Editor:                              wUI be proud to support thJs lmpor·         and the farm price    for the product.
   "MUklng Poor Families'' (edltori·        tant legislatJon u strongly as I              Ten years ago wo took the worcl
al, March 2J) Is Ul Informed and            can.              PERNARD SANDERS           "parity'' out of our vocabulary, and
shortsighted. Three points:                   Member of Congress, Vl., at Large         Jt's been all downhJll slnce on Nortb-
   (1) Dairy farmers have seen more                Wa&hlnston, MarctJ 21,· 1991         east dairy farmll. w~ wt!re able nil
than a 25 perct:nt decline Jn the price
they receive for thelr milk over the                           •                        throuah the 1980's to Improve our
                                                                                        ertlclencle$or· operation. We - the
last six months. Jf thls trend conlin·
                                            Fewer Farm .Families                        10,000 rtmalnlng in New York - h.ave
ues, thousands of family farmen will        To the Editor:                              .survived the daJry termlnallon pro-
he   drtypn   off the   land   fewer and      In rc!l!2nSO to "Milk~ Poor Fam-          arnm, !be bon' b")UD" , .. here w..e.        "*--~~.-­
larger (corporace-owned) farms will         1Ucs11 (edhorial, Mardi~!):         ·       ate asaln With loo mud1 mllk tit too
prevail. and In the long nm the con-          Senator Patrick J. Leahy of Ver-          low a farm price and are about to
sumer will suf1er because mJJk pro-         mont was trying to salvage through          fiusb the S)'stem again at the expense
duction wUl be controlled by a smaJI        his emersency Je&J!IJaUon the dairy         of many, many farm familles being
number or producers who wiJI be able        farm families not oruy o1 Vermont,          driven out of dairyln~o
to control tile price.                      but or the whole Northeast. Jt was an          The co\ffs will not leave, as they will
   (2) You state tMt the provision In       honurable attempt to ~lve a very            be absorbed by the larger farJtts, and
Senator l'atrldc J. Leahy's amend·          serioUs problem.                             the excess production will still be'
ment to the emergency approprla·               The ooJy dlfforence between poor          there. The environment will sufler
tions bill "would raise the price of        children and poor fana chlJdren is           further damase "s we concentrate
whole milk by as much as 28 cent~           that the PQO:t farm children have            large cow numbers over less terri~
per canon." Says who? The retaUers          plenty of mUk. to drink ,at a c:ost of      ry, and lhe CheSapeake Bay never
and the for-profit processors who are       only 92 cents a::satJon at t.oday's pro-    will aet cleaned up. We ~ld be
ripping off the eonsumer and, accord-       duction ease. 'hie)' drink a lot of milk    much better ofl to keep the toWa
Ins ·to the Gswemmenl Accowuios             (the flneet food known to humana),          spread over a •araer area, conUnue to
Off~'-&-prelimlnaf'Y· assessment, are       and .not mudl....e..Js .1r:t tbe1r .diet.   lmpi'OW our tanmna prac:tka With. :.
price gouging. Why Is It lhat farmen          New. York State hae Jost t,OOO dairy       chemicals aJd manure m..,qemenL
have seen a drastJc recluctlon In \he       farms 1o lhe ~ ln the last 10
                                                                     ..                 .·Throusb these effortS we can    (with
price they r:ecelve. yet there has boen                                                  cooperation) continUe to protect the
vlnuaiJy no decrease In the price                                                        New York City watershed and even
consumers pay? Why not an editorial                                                      lmpl"'ft Its quality envtnmment
on this rip-off?                                                                            My hat Ia off to the other st sena·
· (3) Lastly, to suqest that backers                                                     toB who 8Uppoi1ed thts lepslaUon, as -
 of· emergency, temporary relief for                                                     they realized the serfciusness of the
 clair)' farmers are BDmehow bosUle to                                                   eruncb at tbe farm Jeyel.      .
 children and low·Sncome nutrition                                                          'lb.e cost of mUk. 10 the consumer
 programs Is lnsuJtlng and unfounded.                                                     need not have rlaen at   au Wlder.lhls
 Check the lineup In this legislative                                                     ptogram. Store priceS are sUll at a
 battle 10 understand what Is truly                                                       level reflecting last year's $15 to $16
 happenlna•. 1be proponents of this                                                       farm prices. There Is room In the
                                                                                          processing and retaJllng sectors to
 dairy provision Include senators Lea-
 fly, Democrat of Venbont, and James                                                      have absorbed the cost of this pro-           ..
 M. Jeffords, Republican of Vermont,                                                      gram, Improved the product lhrOU8h
 and most of the pro~resstve mem·                                                         forUflcatlon with additional solids,
 bers of the Senate. Leadlnl the oppo-                                                    not fats, relieved the government of
 sition were Senators Jesse Helms and                                                     the surplas problem and, wbo )mows,
 Richard G. Lusar, Republicans of                                                         maybe Increased coosumpUcm of a
  North Carolina and Indiana. ,                                         QnJI.Opbe
                                                                                          very nu.bitiD\IS food product.      ·
     Check the record, and }'ou wlll find                                                    J sh~dot· -to think that anyone In
 out whldt side has ex~nslst.enUy been       years. By next fall, fewer ihan 10,000       tbe. United Slates is beint denied a
  on the !!Ide of chUdren and nutrition      will remain In the itate, which will         generous portion of milk and milk
  programs and whfdl side has sup.           Idle 10,000 more people (farmers and         prOducts. Let's all get togelher- and
  ported huge cutbacks 1n proRrams           dependents) who would like to conlln-        solve this problem once and for all for
  that help those who are mos_t vulnera-     ue working and caring for their drury         the benefit of all.     J(EN DII!Fl£LL
  ble In our natfon.                  .      cows. But that wUI be Impossible                             South New Bcrlln, N.Y.
     Jn the Hcusa of Representatives, 1      because of the . cast of production                                . March 22, 1991
